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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF ALABAMA
                               NORTHERN DIVISION

UNITED STATES OF AMERICA                          )
                                                  )
                                                  )
vs.                                               )    CRIMINAL NO. 06-00176-08-CG
                                                  )
KEVIN JAVON MOORE,                                )
                                                  )
       Defendant.                                 )

                                              ORDER

       This matter is before the court on defendant’s motion for a trial in the Northern Division

of the Southern District of Alabama, at Selma, with a jury drawn from the qualified jury wheel of

the Northern Division. (Doc. 146) As grounds, the defendant asserts that the defendant is a

resident of that division, the offense alleged took place in that division, and the co-defendants are

believed to be residents of that division.

       There is no right to have a criminal trial in a particular division of a district, or to have

one’s jury selected from jurors from a particular division. However, upon timely application the

district court may, in its discretion, grant such a request. See United States v. Burns, 662 F.2d

1378, 1382 (11th Cir. 1981) and FED.R.CRIM.P. 18. The application was undoubtedly timely.

However there are logistical problems which this case presents that a trial in the Northern

Division of the District cannot accommodate. There are twelve defendants named in the

indictment, who, presumably, will be tried together. So far, no co-defendant has filed a notice of

intent to plead guilty, and the court therefore assumes that this will be a multi-defendant trial.1


       1
          Because summonses for jurors must be sent out seven to eight weeks in advance of jury
selection, the court cannot wait to see how many of the co-defendants in this case may opt to
enter guilty pleas. Today’s date is seven and a half weeks in advance of jury selection, and the
court must therefore decide the motion on the information extant.
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All of the defendants are in custody, and either are, or will be, set for trial during the October

2006 Criminal Jury Term. The Federal Courthouse in Selma is a one-courtroom building, with

either one or two holding cells in the Marshal’s one-room office. It would be impossible to

accommodate the security concerns of a trial involving more than one or two in-custody

defendants, and possibly several in-custody witnesses, with the physical limitations of the

courthouse in Selma. This case has 12 in-custody defendants. The case will be tried in Mobile,

and the defendant’s motion for a Northern Division trial is DENIED.

        By previous Order (Doc. 147) , the court has directed that the petit jury to be selected for

the trial of this case be drawn from the District at Large, as provided for in this District’s Jury

Plan.

        DONE and ORDERED this 15TH day of August, 2006.


                                                  /s/ Callie V. S. Granade
                                               CHIEF UNITED STATES DISTRICT JUDGE




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